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 IT IS HEREBY ADJUDGED and DECREED that the
 below described is SO ORDERED.


 Dated: May 10, 2023.

                                                             __________________________________
                                                                     SHAD M. ROBINSON
                                                             UNITED STATES BANKRUPTCY JUDGE
 __________________________________________________________________



                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 IN RE:                                           §
 ASTRALABS INC                                    §
       DEBTOR                                     §   BANKRUPTCY CASE NO. 23-10164

                         Order Approving The Lane Law Firm, PLLC
                           as Counsel for the Debtor-in-Possession
                                  (Relates to Doc. No. 15)

        8SRQWKHDSSOLFDWLRQ WKH³Application´ RIWKHDERYH-referenced Debtor-in-Possession for

 the entry of an order authorizing the Debtor to retain and employ The Lane Law Firm, PLLC as

 its bankruptcy counsel effective as of March 7, 2023, as set forth in the Application; and the Court

 having reviewed the Application and the Court having jurisdiction over the matters raised in the

 Application pursuant to 28 U.S.C. § 1334; and the Court having found that this a core proceeding

 pursuant to 28 U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article

 III of the United States Constitution; and the Court having found that venue of this proceeding and

 the Application in this district is proper pursuant to 28 U.S.C. § 1408 and 1409; and the Court

 having found based on the representations made in the Application is in the best interest of the
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 'HEWRU¶VHVWDWHDQGWKDW7KH/DQH/DZ)LUP3//&GRHVQRWUHSUHVHQWDQGGRHVQRWKROGDQ\

 interest adveUVH WR WKH 'HEWRU RU WKH 'HEWRU¶V HVWDWH ZLWK UHVSHFW WR WKH ³GLVLQWHUHVWHG SHUVRQ´

 meaning of section 101(14) of the Bankruptcy Code; and the Court having found that proper and

 adequate notice of the Application and hearing thereon has been given and that no other or further

 notice is necessary; and the Court having found that good and sufficient cause exists for the

 granting of the relief requested in the Application after having given due deliberation upon the

 Application and all of the proceedings had before the Court in connection with the Application, it

 is

         ORDERED that the Debtor is authorized, pursuant to sections 327(a) of the Bankruptcy

 Code, Bankruptcy Rules 2014 and 2016, to employ and retain The Lane Law Firm, PLLC as

 bankruptcy counsel from March 7, 2023, in accordance with the terms and conditions set forth in

 the Engagement Letter attached to the Application, as may be modified by this Order; It is

         FURTHER ORDERED that in the event of any inconsistency among the Engagement

 Letter, the Application or this Order, the terms of this Order shall govern; It is

         FURTHER ORDERED The Lane Law Firm, PLLC shall be compensated in accordance

 with the terms of the Engagement Letter as modified by this order and the hourly rate agreed to

 since the execution of the Engagement Letter, and shall file fee applications for monthly, interim,

 and final allowance of compensation and reimbursement of expenses, if any, that comply with the

 procedures set forth in sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, the

 Local Rules, and any orders or procedures of this Court. For billing purposes, The Lane Law Firm,

 PLLC shall keep its time in one tenth (1/10) hour increments in accordance with the fee guidelines

 established by the U.S. Trustee; It is

         FURTHER ORDERED that The Lane Law Firm, PLLC shall provide ten business days¶

 notice to the Debtor, the U.S. Trustee, the Subchapter V Trustee and counsel to the secured lenders
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 before any increases in the hourly rates set forth in the Application or the Engagement Letter are

 implemented. The U.S. Trustee retains all rights to object to any rate increase on all grounds,

 including the reasonableness standard set forth in section 330 of the Bankruptcy Code, and the

 Court retains the right to review any rate increase pursuant to section 330 of the Bankruptcy Code;

 It is

         FURTHER ORDERED that to the extent the Debtor wishes to expand the scope of The

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 Order, the Debtor shall be required to seek further approval from this Court. The Debtor shall file

 QRWLFHDQ\SURSRVHGDGGLWLRQDOVHUYLFHV WKH³Proposed Additional Services´ DQDQ\XQGHUO\LQJ

 engagement agreement with the Court and serve such notice on the U.S. Trustee, the Subchapter

 V Trustee, counsel to the secured lenders, and any party requesting notice under Bankruptcy Rule

  ,I QR VXFK SDUW\ ILOHV DQ REMHFWLRQ ZLWKLQ  GD\V RI WKH 'HEWRU¶V QRWLFH WKH 3URSRVHG

 Additional Services and any underlying engagement agreement may be approved by the Court by

 further order without further notice or hearing; It is

         FURTHER ORDERED not notwithstanding anything in the Application to the contrary,

 to the extent that The Lane Law Firm, PLLC uses the services of independent or third party

 FRQWUDFWRUVRUVXEFRQWUDFWRUV WKH³Contractors´ LQWKLVFDVe and seeks to pass through the fees

 and/or costs of the Contractors to the Debtor, The Lane Law Firm, PLLC shall (a) pass through

 the fees of such Contractors to the Debtor at the same rate that The Lane Law Firm, PLLC pays

 the Contractors; and (b) seek reimbursement for actual costs of the Contractors only; It is

         FURTHER ORDERED that the Debtor and The Lane Law Firm, PLLC are authorized to

 take all actions necessary to effectuate the relief granted pursuant to this Order in accordance with

 the Application as modified by this Order; It is
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         FURTHER ORDERED that notice of the Application as provided therein is deemed to

 good and sufficient notice of such Application, and the requirements of the Local Rules are

 satisfied by the contents of the Application; It is

         FURTHER ORDERED that The Lane Law Firm, PLLC will review its files periodically

 during the pendency of this Chapter 11 case to ensure that no conflicts or other disqualifying

 circumstances exist or arise. If any new relevant facts or relationships are discovered or arise, The

 Lane Law Firm, PLLC will use reasonable efforts to identify such further developments and will

 file a supplemental declaration, as required under Bankruptcy Code Rule 2014(a); It is

         FURTHER ORDERED that notwithstanding Bankruptcy Rule 6004(a), the terms and

 conditions of this Order shall be immediately effective and enforceable upon entry of this Order;

 It is

         FURTHER ORDERED that the Court retains jurisdiction to hear and determine all

 matters arising from or related to the implementation, interpretation, or enforcement of this Order.

                                                ###




 SUBMITTED BY:

 /s/Robert C. Lane
 Robert C. Lane
 State Bar No. 24046263
 notifications@lanelaw.com
 Joshua Gordon
 State Bar No. 24091592
 Joshua.gordon@lanelaw.com
 6200 Savoy, Suite 1150
 Houston, Texas 77036
 (713) 595-8200 Voice
 (713) 595-8201 Facsimile
 PROPOSED COUNSEL FOR DEBTOR
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                                                              United States Bankruptcy Court
                                                                Western District of Texas
In re:                                                                                                                 Case No. 23-10164-smr
ASTRALABS Inc                                                                                                          Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0542-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: May 11, 2023                                               Form ID: pdfintp                                                           Total Noticed: 5
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 13, 2023:
Recip ID                   Recipient Name and Address
db                     +   ASTRALABS Inc, 979 Springdale Road Suite #123, Austin, TX 78702-3764
cr                     +   3423 Holdings, Fritz Byrne, PLLC, 221 West Sixth Street, Suite 960, Austin, TX 78701 UNITED STATES 78701-3444
cr                     +   Athletes to Athletes, Inc., 1061 Winnsboro Loop, Round Rock, 78664, UNITED STATES 78664-3312
cr                     +   Capitol Vending and Coffee Company, Holland & Knight LLP, 100 Congress Avenue, Suite 1800, Austin, TX 78701 UNITED STATES
                           78701-4042

TOTAL: 4

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
cr                     ^ MEBN
                                                                                        May 11 2023 22:19:37      Texas Comptroller of Public Accounts, Revenue
                                                                                                                  Acco, c/o John M Stern, c/o Sherri K. Simpson,
                                                                                                                  Paralegal, PO Box 12548, Austin, TX 78711-2548

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 13, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 11, 2023 at the address(es) listed below:
Name                               Email Address
Cleveland R Burke
                                   on behalf of Creditor Capitol Vending and Coffee Company cleveland.burke@hklaw.com
                                   tammy.greenblum@hklaw.com;annmarie.jezisek@hklaw.com
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                                         Notice Pg 6 of 6
District/off: 0542-1                                             User: admin                                                            Page 2 of 2
Date Rcvd: May 11, 2023                                          Form ID: pdfintp                                                      Total Noticed: 5
Eric Terry
                               on behalf of Trustee Eric Terry eric@ericterrylaw.com ebterry@ecf.axosfs.com

Eric Terry
                               eric@ericterrylaw.com ebterry@ecf.axosfs.com

John Mark Stern
                               on behalf of Creditor Texas Comptroller of Public Accounts Revenue Accounting Division bk-jstern@oag.texas.gov,
                               sherri.simpson@oag.texas.gov

Lisa C. Fancher
                               on behalf of Creditor 3423 Holdings lfancher@fritzbyrne.law

Robert Chamless Lane
                               on behalf of Debtor ASTRALABS Inc chip.lane@lanelaw.com thelanelawfirm@jubileebk.net;notifications@lanelaw.com

Ryan Lott
                               on behalf of Creditor Athletes to Athletes Inc. thelottfirm@gmail.com

Shane P. Tobin
                               on behalf of U.S. Trustee United States Trustee - AU12 shane.p.tobin@usdoj.gov
                               Carolyn.Feinstein@usdoj.gov;gary.wright3@usdoj.gov

Shanna M Kaminski
                               on behalf of Interested Party Apex Funding Source LLC skaminski@kaminskilawpllc.com

United States Trustee - AU12
                               ustpregion07.au.ecf@usdoj.gov


TOTAL: 10
